Case 2:14-cv-04076-GHK-AJW Document 24 Filed 10/01/14 Page 1 of 3 Page ID #:91



      1   SCOTT J. HYMAN (State Bar No. 148709)
          sjh(a2severson.com
   2      ERlN S. KUBOTA (State Bar No. 228371)
          esk{a),severson. com
   3      SEVERSON & WERSON
          A Professional Corporation
   4      19100 Von Karman Avenue, Suite 700
          Irvine, California 92612
   5      Telephone: (949) 442-7110
          Facsimile: (949) 442-7118
   6
      MARK D. LONERGAN (State Bar No. 143622)
    7 SEVERSON & WERSON
      A Professional Corporation
    8 One Embarcadero Center, Suite 2600
      San Francisco, California 94111
    9 Telephone: (415) 398-3344
      Facsimile: (415) 956-0439
  10
      Attorneys for Defendant
  11 WELLS FARGO BANK, N.A.
  12
                                              UNITED STATES       DISTRICT       COURT
  13
                     CENTRAL            DISTRICT        OF CALIFORNIA        -   WESTERN       DIVISION
  14
          RANESHA WILLIAMS,                      an individual,     Case No. 2: 14-cv-04076 GHK (AJWx)
  15                                                                Hon. George H. King
                                 Plaintiff,                         Ctrm. 650 - Roybal Fed. Bldg.
  16
                        vs.                                         STIPULATION    OF DISMISSAL             OF
  17                                                                DEFENDANT WELLS FARGO
          WELLS FARGO BANK, N.A ;                                   BANK, N.A. PURSUANT TO
  18      XEROX EDUCATION SERVICES,                                 FEDERAL RULE OF CIVIL
          LLC dba ACS EDUCATION                                     PROCEDURE    41(a)(1)(A)(ii)
  19      SERVICES ('lACS"); EXPERIAN
          INFORMATION SOLUTIONS INC.;
 20       and DOES 1 through 10, inclusive,
                                                                    Action Filed:    May 28, 2014
 21                              Defendants.                        Trial Date:      None Set
 22
 23
 24
 25
 26
 27
 28
          07685.1326/3340642.1                                                           2:14-cv-04076 GHK (AJWx)
                          STIPULATION    OF DISMISSAL   OF WELLS FARGO BANK, N.A. PURSUANT TO RULE 41(a)(1)(A)(ii)
Case 2:14-cv-04076-GHK-AJW Document 24 Filed 10/01/14 Page 2 of 3 Page ID #:92



   1                 Pursuant to Rule 41 (a)(1)(A)(ii)         of the Federal Rules of Civil Procedure,
   2 plaintiff Ranesha Williams and defendant Wells Fargo Bank, N.A., hereby stipulate
   3 that defendant Wells Fargo Bank, N.A. be voluntarily dismissed                       from this action
   4 with prejudice.

   5
   6                 SO STIPULATED.
   7 DATED:                   October 1, 2014            SEVERSON & WERSON
                                                         A Professional Corporation
   8
   9
  10                                                     By:            /s/ Scott J Hyman
  11                                                                          Scott J. Hyman
  12
                                                         Attorneys for Defendant WELLS FARGO
  13                                                     BANK, N.A.
  14                                                     SURF CITY LA WYERS
       DATED:                 October 1,2014
  15
  16
  17
                                                         By:         /s/ Christine A. Wilton
  18
                                                                       Christine A. Wilton
  19                                                     Attorneys for Plaintiff RANESHA WILLIAMS
  20
  21
  22
  23
  24
  25
  26
  27
  28
       07685.1326/3340642.1                                       2                      2: 14-cv-04076 GHK (AJWx)
                        STIPULATION    OF DISMISSAL   OF WELLS FARGO BANK, NA     PURSUANT TO RULE 41(a)(1)(A)(ii)
Case 2:14-cv-04076-GHK-AJW Document 24 Filed 10/01/14 Page 3 of 3 Page ID #:93




       1                                        PROOF OF SERVICE
                                      Williams v. Wells Fargo Bank, N.A., et al.
   2                          USDC Central District Case No. 2:14-cv-04076 GHK (AJWx)
   3        At the time of service, I was over 18 years of age and not a party to this
     action. I am employed in the County of Orange, State of California, My business
   4 address is 19100 Von Karman Avenue, Suite 700, Irvine, CA 92612.
   5                    On the date below, I served true copies of the following document(s):
   6 STIPULATION      OF DISMISSAL                         OF DEFENDANT WELLS FARGO BANK,
     N.A. PURSUANT TO FEDERAL                              RULE OF CIVIL PROCEDURE
   7 41 (a)(l)(A)(ii)
   8 on the interested parties in this action as follows:
   9                                      Christine A. Wilton, Anna Serrambana
                                                 attorneychristine@gmail.com
  10                                                anna@a-rlawgroup.com
  11
                   BY CM/ECF NOTICE OF ELECTRONIC               FILING:      I electronically filed
  12       the document(s) with the Clerk of the Court by using the CMlECF system.
           Participants in the case who are registered CM/ECF users will be served by the
  13       CM/ECF system. Participants in the case who are not registered CMlECF users will
           be served by mail or by other means permitted by the court rules.
  14
                  I declare under penalty of perjury under the laws of the United States of
  15       America that the foregoing is true and correct. I declare that I am employed in the
           office of a member of the bar of this Court at whose direction the service was made.
  16
                       Executed on October 1, 2014, at Irvine, California.
  17
  18
  19
 20
  21
  22
 23
 24
 25
 26
 27
 28
           07685.1326/3340642.1                                  3                      2: 14-cv-04076 GHK (AJWx)
                          STIPULATION   OF DISMISSAL   OF WELLS FARGO BANK, N.A. PURSUANT TO RULE 41(a)(I)(A)(ii)
